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                                                                                         Jonathan J. Brennan
                                                                                         DIRECT 646.609.9299
                                                                                         EMAIL jbrennan@maynardcooper.com



                                                      March 23, 2020


   By FINRA DR Portal

   Ms. Donna Greenspan Solomon, Esq., Chair
   c/o Lisa Lasher, FINRA Case Administrator
   FINRA Dispute Resolution
   Boca Center Tower 1
   5200 Town Center Circle, Suite 200
   Boca Raton, FL 33486

               Re: Beverley B. Schottenstein v. J.P. Morgan Securities, LLC, et al.
                   (FINRA Dispute Resolution Case No. 19-02053) - Motion for
                   Issuance of a Subpoenas to American Express and Chase Bank

   Dear Ms. Solomon:

           Pursuant to Rule 12512 of the FINRA Code of Arbitration Procedure (the “Code”), please
   consider this letter a motion by Respondents Evan A. Schottenstein and Avi E. Schottenstein
   (“Respondents”) for the issuance of the enclosed subpoenas for the production of documents to the
   following entities:

               American Express Company (“American Express”)
               J.P. Morgan Chase Bank, N.A. (“Chase Bank”)

            In her Statement of Claim, Claimant alleges that Respondents’ alleged misconduct was brought
   to light when a “relative of Mrs. Schottenstein” obtained access to Mrs. Schottenstein’s brokerage
   statements, downloaded them, and reviewed some of those statements with her. See Statement of
   Claim at p.12. Further, the Statement of Claim alleges that in January 2019, Claimant prepared a five
   page “amendment to her will and trust” that “expressed some of her concerns about her account and
   investments with J.P.Morgan and other concerns.” See Statement of Claim at 13. “In an effort to help
   Mrs. Schottenstein,” the Statement of Claim goes on, “one of Ms. Schottenstein’s relatives sent that
   five page handwritten document to J.P. Morgan.” See id. In its discovery responses, Claimant has now
   identified that relative as Claimant’s granddaughter, Alexis Schottenstein.
            In his Statement of Answer, Respondent Evan Schottenstein articulates his theory of this case
   and Alexis Schottenstein’s involvement with it: Unhappy with an out of date trust that reduced her
   inheritance from Claimant, Alexis Schottenstein vowed revenge and has been a driving force behind
   this case ever since. See Answer of Evan Schottenstein at pp. 15-17. As stated in Evan Schottenstein’s
   Answer, following that discovery Alexis Schottenstein inserted herself into Claimant’s financial affairs
   and exerted an increasing amount of control over Claimant while she complained: “After the 2018
   holidays, Alexis moved into Claimant’s apartment, changed the locks, and added surveillance cameras.
   She walled off Claimant from family members, blocked phone calls, and had Claimant’s phone number


       The Fred F. French Building / 551 Fifth Avenue, Suite 2000 / New York, NY 10176 / 646.609.9280 / maynardcooper.com
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   Ms. Donna Greenspan Solomon, Esq.
   March 23, 2020
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   changed. She then became instrumental in drafting and sending complaints to J.P. Morgan and finding
   attorneys for Claimant.” See Answer of Evan Schottenstein at pp. 15-17.
           This is not the first time Alexis has inserted herself into her grandmother’s financial affairs.
   Respondents believe that for a number of years Claimant maintained one or more credit cards with
   Alexis Schottenstein, first with American Express and later with Chase Bank. Alexis, it is believed
   was either a joint cardholder or an authorized signatory.
           Respondents believe that Alexis Schottenstein incurred significant charges on these cards for
   goods and services that were of no benefit to Claimant. Many of these charges were outside the scope
   of Alexis’s agreement with her grandmother regarding these cards, and many were made without
   Claimant’s knowledge or authorization. Indeed, Respondents believe that activity on these cards led
   Chase Bank to open an investigation into suspected elder abuse of Claimant by Alexis Schottenstein.
   That activity at Chase Bank, and whether similar activity took place at American Express, are directly
   relevant to Claimant’s claims of elder abuse, Respondents’ defenses thereto, and Alexis’s motivations
   for helping her grandmother in this case.
           Rule 12512 of the Code authorizes the Panel to issue subpoenas for the production of
   documents or the appearance of witnesses for non-parties such as American Express and Chase Bank.
   For the foregoing reasons, Respondents respectfully request that the Panel sign the enclosed subpoena
   and return it to Respondents so that they may serve it promptly.
           Thank you for your attention to this matter. If you have any questions, please do not hesitate
   to contact me.
                                                          Sincerely,

                                                          /s/ Jonathan J. Brennan
                                                          Jonathan J. Brennan


   cc:    Scott C. Ilgenfritz, Esq. (by FINRA Portal)
          Gabrielle L. Gould, Esq. (by FINRA DR Portal)
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   FINANCIAL INDUSTRY REGULATORY AUTHORITY
   OFFICE OF DISPUTE RESOLUTION


   In the Matter of the Arbitration between

   BEVERLEY B. SCHOTTENSTEIN,
   Individually and as Co-Trustee Under the
   Beverley B. Schottenstein Revocable Trust
   U/A/D/ April 5, 2011, as Amended,
                                                            FINRA-DR
                                  Claimant,                 Case No. 19-02053
                   v.

   J.P. MORGAN SECURITIES, LLC; EVAN A.
   SCHOTTENSTEIN; and AVI E.
   SCHOTTENSTEIN, Jointly and Severally,

                                  Respondents.


                SUBPOENA FOR PRODUCTION OF DOCUMENTS PURSUANT
                TO FINRA CODE OF ARBITRATION PROCEDURE RULE 12512

          TO:     American Express Company
                  Attn: American Express Subpoena Response Unit (SRU)
                  43 Butterfield Circle
                  El Paso, TX 79906

          YOU ARE COMMANDED, pursuant to FINRA Rule 12512 of the Financial Industry

   Regulatory Authority (“FINRA”) Code of Arbitration Procedure (the “Code”), by the arbitration

   panel in this case to produce the documents described on the attached Schedule A.

          Please produce such documents at the offices of Maynard, Cooper & Gale, P.C., 1901 Sixth

   Avenue North, 2400 Regions/Harbert Plaza, Birmingham, Alabama 35203-2618, Attn: Grace

   Posey within 20 calendar days of your receipt of this order.




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   Dated: _____________, 2020.

                                                   ______________________________
                                                   Donna Greenspan Solomon, Esq.
                                                   Chairperson of the Arbitration Panel
                                                   Boca Center Tower I
                                                   5200 Town Center Circle
                                                   Suite 200
                                                   Boca Raton, FL 33486


   To:   Scott Ilgefritz, Esq.
         Johnson Pope Bokor Ruppel & Burns LLP
         401 E. Jackson Street
         Suite 3100
         Tampa, Florida 33602
         Counsel for Claimant

         Gabrielle Gould, Esq.
         Goodwin, Procter LLP
         The New York Times Building
         620 Eighth Avenue
         New York, New York 10018
         Counsel for Respondent J.P. Morgan Securities, LLC




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                                              Schedule A:

                                     Definitions and Instructions:

          a.   The terms “Claimant” and “her” refer to Claimant Beverley B. Schottenstein
   (S.S.N. XXX-XX-7966; D.O.B. June 13, 1926; 10101 Collins Ave, 5F, Bal Harbour, FL 33154).

          b.      References to “you” or “your” means and includes American Express Company;
   any and all affiliates, subsidiaries or parents, both present and former; any past and/or present
   representatives, agents, employees, consultants, attorneys, predecessors, successors or affiliates;
   and any person acting or purporting to act on behalf of any of them.

            c.     The term “document” is used in its broadest sense to include every book, document
   or other tangible thing, including, without limitation, the following items, whether printed, typed,
   recorded, filmed or produced by any process, or written or produced by hand, whether an original,
   a master, a duplicate or a copy, namely: agreements; communications (including emails); account
   documents; account statements; confirmation slips; order tickets; prospectuses; investment
   literature; telecopies; notes; memoranda; summaries; sound recordings; video recordings;
   transcriptions of telephone, personal or other conversations; interviews; meetings and conferences;
   tape recordings; books; manuals; publications; charts; plans; financial records; bank records;
   invoices; checks; desk calendars; appointment books; diaries and diary entries; and any other
   information-containing papers, writings, or physical things.

           d.      If American Express Company withholds any documents from production based on
   the attorney-client privilege, the work product doctrine, or any other privilege or immunity from
   disclosure, American Express Company shall, with respect to each such document: (i) specifically
   identify the document by stating its date, subject, and type, and identifying all authors and
   recipients, and (ii) specify the nature of the privilege asserted and the particular request to which
   the document or information would otherwise respond.

          e.     Unless otherwise specified, the period for which documents are being requested is
   January 1, 2009, to the present.




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                                    Documents Requested

         1.    All account opening documents including any agreements with Claimant, and/or
               entities owned or controlled by Claimant, whether individually or jointly.

         2.    All account statements for account(s) associated with Claimant, whether
               individually or jointly, including but not limited to, all credit card accounts.

         3.    All correspondence, including but not limited to paper correspondence, e-mails,
               texts, facsimiles and/or instant messages, with Claimant or those acting on her
               behalf.

         4.    All phone records, including recorded calls, voicemail messages, and records of
               incoming and outgoing calls with Claimant or those acting on her behalf.
               Telephone numbers belonging to Claimant include, but are not limited to,

                  
                  
                  
                  

         5.    All phone records, including recorded calls, voicemail messages, and records of
               incoming and outgoing calls with Claimant’s granddaughter, Alexis Schottenstein.
               Telephone numbers belonging to Alexis Schottenstein include, but are not limited
               to,




         6.    All documents, including communications, generated by compliance, supervisory,
               or anti-fraud personnel or as part of compliance, supervisory, or anti-fraud
               processes relating to Claimant or her account(s).

         7.    All documents, including communications, relating to Claimant or her account(s)
               that you completed, collected, created, assembled, or maintained, as a result of
               American Express’ fraud prevention or detection policies and procedures.

         8.    Any records of customer complaint(s) (whether oral or written) made by Claimant
               with respect to Claimant’s account(s).




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   FINANCIAL INDUSTRY REGULATORY AUTHORITY
   OFFICE OF DISPUTE RESOLUTION


   In the Matter of the Arbitration between

   BEVERLEY B. SCHOTTENSTEIN,
   Individually and as Co-Trustee Under the
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                                                            FINRA-DR
                                  Claimant,                 Case No. 19-02053
                   v.

   J.P. MORGAN SECURITIES, LLC; EVAN A.
   SCHOTTENSTEIN; and AVI E.
   SCHOTTENSTEIN, Jointly and Severally,

                                  Respondents.


                SUBPOENA FOR PRODUCTION OF DOCUMENTS PURSUANT
                TO FINRA CODE OF ARBITRATION PROCEDURE RULE 12512

          TO:     J.P. Morgan Chase Bank, N.A.
                  Attn: Subpoena Processing
                  7610 West Washington Street
                  Indianapolis, Indiana 46231

          YOU ARE COMMANDED, pursuant to Rule 12512 of the Financial Industry Regulatory

   Authority (“FINRA”) Code of Arbitration Procedure (the “Code”), by the arbitration panel in this

   case to produce the documents described on the attached Schedule A.

          Please produce such documents at the offices of Maynard, Cooper & Gale, P.C., 1901 Sixth

   Avenue North, 2400 Regions/Harbert Plaza, Birmingham, Alabama 35203-2618, Attn: Grace

   Posey within 20 calendar days of your receipt of this order.




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   Dated: _____________, 2020.

                                                   ______________________________
                                                   Donna Greenspan Solomon, Esq.
                                                   Chairperson of the Arbitration Panel
                                                   Boca Center Tower I
                                                   5200 Town Center Circle
                                                   Suite 200
                                                   Boca Raton, FL 33486


   To:   Scott Ilgefritz, Esq.
         Johnson Pope Bokor Ruppel & Burns LLP
         401 E. Jackson Street
         Suite 3100
         Tampa, Florida 33602
         Counsel for Claimant

         Gabrielle Gould, Esq.
         Goodwin, Procter LLP
         The New York Times Building
         620 Eighth Avenue
         New York, New York 10018
         Counsel for Respondent J.P. Morgan Securities, LLC




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                                              Schedule A:

                                     Definitions and Instructions:

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   (S.S.N. XXX-XX-7966; D.O.B. June 13, 1926; 10101 Collins Ave, 5F, Bal Harbour, FL 33154).

           b.     References to “you” or “your” means and includes J.P. Morgan Chase Bank, NA
   (“Chase Bank”); any past and/or present representatives, agents, employees, consultants,
   attorneys, predecessors, successors or affiliates; and any person acting or purporting to act on
   behalf of any of them.

            c.     The term “document” is used in its broadest sense to include every book, document
   or other tangible thing, including, without limitation, the following items, whether printed, typed,
   recorded, filmed or produced by any process, or written or produced by hand, whether an original,
   a master, a duplicate or a copy, namely: agreements; communications (including emails); account
   documents; account statements; confirmation slips; order tickets; prospectuses; investment
   literature; telecopies; notes; memoranda; summaries; sound recordings; video recordings;
   transcriptions of telephone, personal or other conversations; interviews; meetings and conferences;
   tape recordings; books; manuals; publications; charts; plans; financial records; bank records;
   invoices; checks; desk calendars; appointment books; diaries and diary entries; and any other
   information-containing papers, writings, or physical things.

           d.      If Chase Bank withholds any documents from production based on the attorney-
   client privilege, the work product doctrine, or any other privilege or immunity from disclosure,
   Chase Bank shall, with respect to each such document: (i) specifically identify the document by
   stating its date, subject, and type, and identifying all authors and recipients, and (ii) specify the
   nature of the privilege asserted and the particular request to which the document or information
   would otherwise respond.

          e.     Unless otherwise specified, the period for which documents are being requested is
   January 1, 2014, to the present.




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                                      Documents Requested

         1.    All credit or debit card account opening documents including any agreements with
               Claimant, and/or entities owned or controlled by Claimant, whether individually or
               jointly.

         2.    All account statements for credit or debit card account(s) associated with Claimant,
               whether individually or jointly, including but not limited to, all credit card accounts.

         3.    All correspondence related to any credit or debit card account associated with
               Claimant, including but not limited to, paper correspondence, e-mails, texts,
               facsimiles and/or instant messages, with Claimant or those acting on her behalf.

         4.    All phone records, including recorded calls, voicemail messages, and records of
               incoming and outgoing calls with Claimant or those acting on her behalf.
               Telephone numbers belonging to Claimant include, but are not limited to,




         5.    All phone records, including recorded calls, voicemail messages, and records of
               incoming and outgoing calls with Claimant’s granddaughter, Alexis Schottenstein.
               Telephone numbers belonging to Alexis Schottenstein include, but are not limited
               to,




         6.    All documents, including communications, generated by compliance, supervisory,
               or anti-fraud personnel or as part of compliance, supervisory, or anti-fraud
               processes relating to Claimant or her credit or debit card account(s).

         7.    All documents, including communications, relating to Claimant or her credit or
               debit card account(s) that you completed, collected, created, assembled, or
               maintained, as a result of Chase Bank’s fraud prevention or detection policies and
               procedures.

         8.    Any records of customer complaint(s) (whether oral or written) made by Claimant
               with respect to Claimant’s credit or debit card account(s).




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